Case: 1:15-cv-06374 Document #: 1-1 Filed: 07/21/15 Page 1 of 8 PageID #:4
Case: 1:15-cv-06374 Document #: 1-1 Filed: 07/21/15 Page 2 of 8 PageID #:5
Case: 1:15-cv-06374 Document #: 1-1 Filed: 07/21/15 Page 3 of 8 PageID #:6
Case: 1:15-cv-06374 Document #: 1-1 Filed: 07/21/15 Page 4 of 8 PageID #:7
Case: 1:15-cv-06374 Document #: 1-1 Filed: 07/21/15 Page 5 of 8 PageID #:8
Case: 1:15-cv-06374 Document #: 1-1 Filed: 07/21/15 Page 6 of 8 PageID #:9
Case: 1:15-cv-06374 Document #: 1-1 Filed: 07/21/15 Page 7 of 8 PageID #:10
Case: 1:15-cv-06374 Document #: 1-1 Filed: 07/21/15 Page 8 of 8 PageID #:11
